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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA

JACKSONVILLE DIVISION
UNITED STATES OF AMERICA Case Number: 3:23-cr-166-HLA-JBT
Vv USM Number: 91498-510
AMIT PATEL Alex King, Retained
1805 Copeland St.
Jacksonville, FL 32204

JUDGMENT IN A CRIMINAL CASE

The defendant was found guilty to Counts One and Two of the Information. The defendant is
adjudicated guilty of these offenses:

Date Offense Count

Title & Section Nature of Offense Concluded Number(s
18 U.S.C. § 1348 Wire Fraud February 2023 One
18 U.S.C. § 1957 Illegal Monetary Transaction October 2022 Two

The defendant is sentenced as provided in pages 2 through 8 of this judgment. The sentence is
imposed pursuant to the Sentencing Reform Act of 1984.

IT IS ORDERED that the defendant must notify the United States attorney for this district
within 30 days of any change of name, residence, or mailing address until all fines, restitution,
costs, and special assessments imposed by this judgment are fully paid. If ordered to pay
restitution, the defendant must notify the court and United States attorney of material changes in
economic circumstances.

Date of Imposition of Sentence:

March 12, 2024

HENR a AMS, JR.

SENIOR UNIT#D STATES DISTRICT JWDGE

March 1“ , 2024

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IMPRISONMENT
The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be
imprisoned for a total term of SEVENTY-EIGHT (78) MONTHS. This term consists of
SEVENTY-EIGHT (78) months as to counts one and two, all such terms to run
concurrently.
The Court makes the following recommendations to the Bureau of Prisons:
e Incarceration at a facility close to defendants’ home in Jacksonville, Florida.

The Defendant shall surrender for service for sentence at the institution designated by the
Bureau of Prison no later than 90 days.

RETURN
I have executed this judgment as follows:
Defendant delivered on to
at , with a certified copy of this judgment.

UNITED STATES MARSHAL

By:

Deputy United States Marshal

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SUPERVISED RELEASE

Upon release from imprisonment, you will be on supervised release for a term of THREE
(3) YEARS. This term consists of a THREE (3) YEAR term as to counts one and two, all
such terms to run concurrently.

MANDATORY CONDITIONS

You must not commit another federal, state or local crime.

You must not unlawfully possess a controlled substance.

You must refrain from any unlawful use of a controlled substance. You must submit to one
drug test within 15 days of release from imprisonment and at least two periodic drug
tests, thereafter, as determined by the court.

You must cooperate in the collection of DNA as directed by the probation officer.

You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other
statute authorizing a sentence of restitution.

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You must comply with the standard conditions that have been adopted by this court as well as
with any other conditions on the attached page.

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STANDARD CONDITIONS OF SUPERVISION

As part of your supervised release, you must comply with the following standard conditions of
supervision. These conditions are imposed because they establish the basic expectations for your
behavior while on supervision and identify the minimum tools needed by probation officers to keep
informed, report to the court about, and bring about improvements in your conduct and condition.

1.

oO

10.

11.

You must report to the probation office in the federal judicial district where you are
authorized to reside within 72 hours of your release from imprisonment unless the probation
officer instructs you to report to a different probation office or within a different time frame.
After initially reporting to the probation office, you will receive instructions from the court
or the probation officer about how and when you must report to the probation officer, and
you must report to the probation officer as instructed.

You must not knowingly leave the federal judicial district where you are authorized to reside
without first getting permission from the court or the probation officer.

You must answer truthfully the questions asked by your probation officer.

You must live at a place approved by the probation officer. If you plan to change where you
live or anything about your living arrangements (such as the people you live with), you must
notify the probation officer at least 10 days before the change. If notifying the probation
officer in advance is not possible due to unanticipated circumstances, you must notify the
probation officer within 72 hours of becoming aware of a change or expected change.

You must allow the probation officer to visit you at any time at your home or elsewhere, and
you must permit the probation officer to take any items prohibited by the conditions of your
supervision that he or she observes in plain view.

You must work full time (at least 30 hours per week) at a lawful type of employment unless
the probation officer excuses you from doing so. If you do not have full-time employment
you must try to find full-time employment unless the probation officer excuses you from
doing so. If you plan to change where you work or anything about your work (such as your
position or your job responsibilities), you must notify the probation officer at least 10 days
before the change. If notifying the probation officer at least 10 days in advance is not possible
due to unanticipated circumstances, you must notify the probation officer within 72 hours
of becoming aware of a change or expected change.

You must not communicate or interact with someone you know is engaged in criminal
activity. If you know someone has been convicted of a felony, you must not knowingly
communicate or interact with that person without first getting the permission of the
probation officer.

If you are arrested or questioned by a law enforcement officer, you must notify the probation
officer within 72 hours.

You must not own, possess, or have access to a firearm, ammunition, destructive device, or
dangerous weapon (i.e., anything that was designed, or was modified for, the specific
purpose of causing bodily injury or death to another person such as nunchucks or tasers).
You must not act or make any agreement with a law enforcement agency to act as a
confidential human source or informant without first getting the permission of the court.

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12. If the probation officer determines that you pose a risk to another person (including an
organization), the probation officer may require you to notify the person about the risk and
you must comply with that instruction. The probation officer may contact the person and
confirm that you have notified the person about the risk.

18. You must follow the instructions of the probation officer related to the conditions of
supervision.

U.S. Probation Office Use Only

A U.S. probation officer has instructed me on the conditions specified by the court and has
provided me with a written copy of this judgment containing these conditions. For further
information regarding these conditions, see Overview of Probation and Supervised Release
Conditions, available at: www.uscourts.gov.

Defendant’s Signature: Date:

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ADDITIONAL CONDITIONS OF SUPERVISED RELEASE

1. You shall participate in a substance abuse program (outpatient and/or inpatient) and follow
the probation officer’s instructions regarding the implementation of this court directive.
Further, you shall contribute to the costs of these services not to exceed an amount
determined reasonable by the Probation Office’s Sliding Scale for Substance Abuse
Treatment Services. During and upon the completion of this program, you are directed to
submit to random drug testing.

2. You shall participate in a mental health treatment program (outpatient and/or inpatient)
and follow the probation officer’s instructions regarding the implementation of this court
directive. Further, you shall contribute to the costs of these services not to exceed an amount
determined reasonable by the Probation Office’s Sliding Scale for Mental Health Treatment
Services.

3. You shall submit to a search of your computer, conducted by the United States Probation
officer at a reasonable time and in a reasonable manner, based upon reasonable suspicion
of contraband or evidence of a violation of a condition of release. Failure to submit to a
search may be grounds for revocation.

4. You shall be prohibited from incurring new credit charges, opening additional lines of credit,
or obligating yourself for any major purchases without approval of the probation officer.

5. You shall provide the probation officer access to any requested financial information.

6. You shall refrain from engaging in any employment related to accounting without the
Court's approval.

7. The defendant shall not participate in any form of gambling, including the purchase of
lottery tickets, or patronize any gambling facilities and shall attend Gambler’s Anonymous
meetings as approved by his supervising probation officer.

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CRIMINAL MONETARY PENALTIES

The defendant must pay the following total criminal monetary penalties under the
schedule of payments set forth in the Schedule of Payments.

AVAA JIVTA
Assessment' Assessment?

Assessment Fine Restitution

TOTALS $200.00 $21,132,454.40

The defendant must make restitution (including community restitution) to the following
payees in the amount listed below.

If the defendant makes a partial payment, each payee shall receive an approximately
proportioned payment, unless specified otherwise in the priority order or percentage payment
column below. However, pursuant to 18 U.S.C. § 3664(i) all nonfederal victims must be paid in
full prior to the United States receiving payment.

Priority or

Name of Payee Total Loss* Restitution Ordered
ee Percentage

Jacksonville Jaguars

Attn: Megha Parekh

1 EverBank Stadium Drive
Jacksonville, FL 32202

$21,132,454.40

Totals: $21,132,454.40

The Court determined that the defendant does not have the ability to pay interest and it is
ordered that:

the interest requirement is waived for the fine.

1 Amy, Vicky, and Andy Child Pornography Victim Assistance Act of 2018, Pub. L. No. 115-299.

2 Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.

3 Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for
offenses committed on or after September 138, 1994, but before April 23, 1996.

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SCHEDULE OF PAYMENTS
The Special Assessment in the amount of $200.00 is due in full and immediately.

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties
shall be due as follows:

While in the custody of the Bureau of Prisons, you shall either (1) pay at least $25.00
quarterly if working non-Unicor job or (2) pay at least 50 percent of your monthly earnings
if working in a Unicor job. Upon release from custody, you shall pay restitution at the rate
of $250 per month. At any time during the course of post-release supervision, the victim,
the government, or the defendant, may notify the court of a material change in the
defendant’s ability to pay, the Court may adjust the payment schedule accordingly.

Unless the court has expressly ordered otherwise, if this judgment imposes a period of
imprisonment, payment of criminal monetary penalties is due during the period of imprisonment.
All criminal monetary penalties, except those payments made through the Federal Bureau of
Prisons’ Inmate Financial Responsibility Program, are made to the clerk of the court, unless
otherwise directed by the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary
penalties imposed.

FORFEITURE

The defendant shall forfeit to the United States property identified in the Preliminary Order
(Dkt. 29), entered on March 5, 2024.

Payments shall be applied in the following order: (1) assessment, (2) restitution principal,
(3) restitution interest, (4) AVAA assessment, (5) fine principal, (6) fine interest, (7) community
restitution, (8) JVTA assessment, (9) penalties, and (10) costs, including cost of prosecution and
court costs.

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